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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means

UNITED STATES DISTRICT COURT

for the
District of New Hampshire
In the Matter of the Search of )
(Briefly describe the property to be searched )
or identify the person by name and address) ) Case No, 1:21 -mij- 79-01 -AJ
three locations at the property commonly known as 33 )
Route 4A, Wilmot, New Hampshire

APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

Please see attachment A.

located in the District of New Hampshire , there is now concealed (identify the
person or describe the property to be seized):
Please see attachment B.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
of evidence of a crime;
aw contraband, fruits of crime, or other items illegally possessed;
aw property designed for use, intended for use, or used in committing a crime;
© a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 USC $22(g)(1) ~ Possession of a Firearm by a Prohibited Person
21 USC 841(a)(1) - Possession with Intent to Distribute a Controlled Substance

The application is based on these facts:
Please see attached.

a Continued on the attached sheet.

0 Delayed notice of days (give exact ending date if more than 30 days: ) is requested under
18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

/sf John Forte

 

Applicant's signature
Special Agent John Forte, ATF

 

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
Telephonic conference (specify reliahle electranic means).

 

Date: 03/24/2021

 

Judge's signature

City and state: Concord, New Hampshire Hon. Andrea K. Johnstone, U.S. Magistrate Judge

 

 

Printed name and title
